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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA
                                      LAFAYETTE DIVISION

J. COPY CORDOVA, M.D.                                         *
                                                                    CIVIL ACTION
                                                              *

VERSUS                                                        *
                                                                    DOCKET NO.
                                                              *

LOUISIANA STATE UNIVERSITY                                    *
                                                                    JUDGE
HEALTH SCIENCE CENTER,                                        *

ETAL.                                                         *
                                                                    MAGISTRATE JUDGE


                                         NOTICE OF REMOVAL

        Defendants, the Board of Supervisors of Louisiana State University and Agricultural and


Mechanical College (the body corporate incorrectly identified, named and referred to as "Louisiana


State University Health Science Center" in the caption and body of the Petition for Damages) ("the

Board"), Dr. Karen Curry, Dr. Nicholas Sells and Kristi Anderson (collectively referred to herein as


 LSU Defendants"), hereby file notice pursuant to 28 U.S.C. § 1441, et seq., to remove the civil


action filed by the plaintiff, J. Cory Cordova (referred to herein as "the Plaintiff) from the 15t

Judicial District Court in and for the Parish of Lafayette, State of Louisiana, to the United States

District Court for the Western District of Louisiana.

                                                         1.


        A civil action bearing Docket No. 2019-2019 Div. D and entitled "J. Cory Cordova, M.D. v.


Louisiana State University Health Science Center, et al. was commenced on March 29, 2019 in the


15 Judicial District Court in and for the Parish of Lafayette, State of Louisiana, and that action is

now pending in Lafayette Parish.




       1 Exhibit "A" m ghbo ~ Certified State Court Record dated August 7, 2019, pp. 2"I6 (Petition for
Damages).


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                                                          2.


       In the Petition for Damages, the plaintiff identifies, names and/or sues as defendants: (a)

Louisiana State University Health Science Center, (b) Dr. Karen Curry, (c) Dr. Nicholas Sells, (d)

Kristi Anderson, (e) University Hospital and Clinics ("UHC"), (f) Lafayette General Hospital

("LGMC"), (g) Christopher C. Johnston, and (h) the Gachassin Law Firm.

                                                           3.


       The plaintiff alleges in the Petition for Damages that he entered into a contract with

defendants to be a "House Officer or resident in the internal medicine department at University


Hospital and Clinics in Lafayette for a term between July 1, 2017 and June 30, 2018.2

                                                           4.


        The plaintiff further alleges that as a resident, he possessed a due process property and/or


liberty interest in his position and in the potential for future earnings - interests that the LSU

Defendants are alleged to have violated through the imposition of "unwarranted discipline" and the

non-renewal of the plaintiffs contract.


                                                           5.


        The plaintiff specifically alleges that the LSU Defendants' actions violated his "due process

rights established in the federal and state constitutions," citing the case ofDriscoll v. Stucker, 04-


0589 (La. 1/19/05), 893 So.2d 32, in support of the assertion.3




        2 Exhibit "A" in globo, pp. 4, 5, 6, 8, 10 (paragraphs nos. 10, 15-18, 20,23, 35,40 of the Petition for
Damages).


        3 Exhibit "A" in ghbo, p, 10 (paragraphs nos, 41-42 of the Petition for Damages).


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                                                          6.


        Also stated in the Petition for Damages is that Dr. Karen Curry, Dr. Nicholas Sells and Kristi

Anderson are made defendants in their individual capacities.4


                                                          7.


        After the original petition was filed and because the plaintiffs claims were vague, counsel

for UHC and LGMC filed exceptions of vagueness and nonconformity, prompting plaintiffs counsel

to file an amended petition to cure the exceptions filed and moot the upcoming hearing" on UHC

and LGMC's exceptions.5


                                                          8.


        On July 22, 2019, the plaintiff filed a First Amended Petition for Damages in which he

among other things - amends his original petition: (a) to remove Louisiana State University Health

Science Center as a defendant, and (b) to identify, name and/or sue the Board as a defendant.6


                                                          9.


        The plaintiffs First Amended Petition for Damages includes a request for service on the

Board through the Attorney General and through the Office of Risk Management, as well as through

specifically identified department heads.7

                                                          10.


        The plaintiffs original Petition for Damages, on the other hand, wholly lacks a request for

service on the Board, the Attorney General and/or the Office of Risk Management and includes only


        4 Exhibit "A" in globo, p. 1 (paragraph no. 2 of the Petition for Damages).

         5 Exhibit "A" in globo, pp. 183-198 (First Amended Petition for Damages); and Exhibit "B" in globo
July 19, 2019 email (with attachment) from plaintiffs counsel.

        6 Exhibit "A" in globo, p. 183 (paragraph no. 2 of the First Amended Petition for Damages).

        7 Exhibit "A" in globo, p. 198 (p. 16 of the First Amended Petition for Damages).


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a request for service to be made on the Louisiana State University Health Science Center through its


registered agent.


                                                            11.


        In fact, it was not until July 10, 2019, that the Attorney General and the Office of Risk

Management each were served with citation and the Petition for Damages.9


                                                            12.


        The plaintiff's submission of his First Amended Petition for Damages for filing was the first

time since the inception of this case that the plaintiff filed a single document that: (1) properly

identifies the Board as a defendant, (2) contemporaneously requests that the Board be served through


the Attorney General and the Office of Risk Management in accordance with the requirements of


LSA-R.S. 13:5107 and LSA-R.S. 39:153810, and (3) identifies a Fourteenth Amendment claim for

violation of due process^ thereby giving rise to subject-matter jurisdiction which supports and

triggers the time delay for removal.


                                                            13.


        This civil action now is one in which the United States District Court for the Western District

of Louisiana unquestionably has jurisdiction by reason of 28 U.S.C. §§ 1331 and 1343 and because




           Exhibit "A" in globo, p. 2 (paragraph no. 2 of the Petition for Damages).

         9 Bxhibit "A" in globo, pp. 182,287 (citations).

          10 The plaintiff requested service ofthe First Amended Petition for Damages on the Board through: (1) the
Office of Risk Management, (2) the Attorney General, and (3) the "Heads of the Department for the Board of
supervisors, President F. King Alexander .. . and Chancellor ofLSU Health Sciences Center and Dean ofLSU
School of Medicine, Dr. Larry Hollier." With respect to the Board, LSA-R.S. 39:1538 calls for service through the
Attorney General, the Office of Risk Management, the department head and any others required by LSA-R.S.
13:5107 (i.e., the chairman of the Board, as opposed to the President of LSUand/or the chancellor/dean of LSU
Medical School).


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claims asserted by the plaintiff allegedly arise under the Fourteenth Amendment to the U.S.

Constitution.


                                                          14.


        A constitutional tort claim under 42 U.S.C. § 1983 is facially removable because it is a civil

action founded on claims under the Constitution and/or laws of the United States.


                                                          15.


        Venue of the removed action is proper in this Court because the parish from which the state


court action has been removed belongs to and/or forms part of the United States District Court for


the Western District of Louisiana, Lafayette Division.

                                                          16.


        This Notice of Removal has been filed within thirty days of service of the plaintiffs Petition

for Damages on the Attorney General and on the Office of Risk Management and within thirty days

of receipt of the plaintiffs First Amended Petition properly identifying/naming the Board as a

defendant. Therefore, this Notice of Removal is timely.14




         11 Exhibit "A" in globo, p. 192 (paragraph no. 46 of the First Amended Petition for Damages).

         12 Quinn v. Gwrrero, 863 F.3d 353, 358-359 (5th Cir. 2017), cert. denied, 138 S.Ct. 682, 199 L.Ed.2d 537
(2018); Carrv. Capital One, N.A., 460 Fed.Appx. 461, 467-468 (5th Cir. 2012). See also 28 U.S.C. § 1331; 28
U.S.C. § 1343; and 28 U.S.C. § 1441.

         135'ee28U.S.C.§1441(a).

          14 See Crockett v. Loziisiana Correctional Institute for Women, 2018 WL 1313170 at *3, 4 (E.D. La. 2018)
(recognizing that "[w]hen assessing whether removal was timely, the questions of if and when service occurred are
questions of state law" and holding that "the thirty day removal clock never started to run" due to service
deficiencies as to the State defendants and finding the defendants' notice of removal was timely) (citing Thompson
v. Deutsche BankNat'l Trust Co., 775 F,3d 298, 304-05 (5th Cir. 2014) (holding that removal was timely even
though defendant filed notice of removal eight months after complaint was filed, and six months after default
judgment was entered against defendant, because defendant was never properly served); and /n re Oil Spill, MDL
No. 2179, 2012 WL 4753418, at *2 (E.D. La. Oct. 4, 2012) (holding that thirty-day removal clock only starts when
 defendant has been "served with the citation and the attached petition") (emphasis added)).


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                                                         17.


        By filing this Notice of Removal, the LSU Defendants expressly consent to the removal to

federal court.


                                                         18.


        As evidenced by the signed consent forms (attached hereto as Exhibit "C" in globo) provided

by their attorneys: (1) defendants, UHC, LGMC and Lafayette General Health System, Inc.15,

consent to the removal to federal court; and (2) defendants, the Gachassm Law Firm & Christopher

C. Johnston, consent to the removal to federal court.


                                                         19.


        All process, pleadings and orders filed in the state court action are collectively attached


hereto as Exhibit "A in globo.

                                                         20.


        In accordance with the requirements of 28 U.S.C. § 1446(d), the LSU Defendants have this

day given and served written notice of this removal on all parties by mailing a copy of this pleading

and all attachments thereto to the plaintiffs counsel of record, Jacques F. Bezou, Sr. and Christine


M. Mire.


                                                         21.


        Undersigned counsel certifies that a Notice of Filing Notice of Removal (attached hereto as

Exhibit "D"), along with a copy of this Notice of Removal (including all referenced exhibits), has




          The plaintiff identified, named and/or sued Lafayette General Health System, Inc. as a defendant in the
First Amended Petition for Damages. Exhibit "A" in globo, p. 2 (paragraph no. 2 of the First Amended Petition for
Damages).


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contemporaneously been filed with the 15th Judicial District Court for the Parish of Lafayette, State

of Louisiana, as is required by 28 U.S.C. §1446(d).16

                                                       22.


       In accordance with the requirements of 28 U.S.C. § 1446(a) and Rule 11 of the Federal Rules

of Civil Procedure, undersigned counsel states that the averments of this Notice of Removal are


well-grounded in fact and are warranted by existing law and that this matter is within the jurisdiction

of this Court pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1343 and 28 U.S.C. § 1441, et seq.


       WHEREFORE, the LSU Defendants pray that this Notice of Removal be deemed good and

sufficient as required by law, that the aforesaid action, "J. Cory Cordova, M.D. v. Louisiana State


University Health Science Center, et al," bearing Docket No. 2019-2019 Div. D on the docket of the


15th Judicial District Court in and for the Parish of Lafayette, State of Louisiana, be removed from

that court to the United States District Court for the Western District of Louisiana, and that this

Court have and assume full and complete jurisdiction thereof and issue all necessary orders and


grant all general and equitable relief to which the LSU Defendants might be entitled, and that all




        16 Exhibit "D"-Notice of Filing Notice of Removal and attached Notice of Removal (without exhibits).


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further proceedings in the state court be discontinued.


                                              Respectfully Submitted,
                                              JEFF LANDRY
                                              Attorney General

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                                              Special Assistants Attorneys General and Counsel for the
                                              Board of Supervisors of Louisiana State University and
                                              Agricultural and Mechanical College, Dr. Karen Curry,
                                              Dr. Nicholas Sells and Kristi Anderson

                                   CERTIFICATE OF SERVICE

        I hereby certify that a copy of the Notice of Removal (with exhibits) was forwarded on

Wednesday, August 7, 2019 to:

D Counsel for the plaintiff by United States mail, properly addressed and postage prepaid;
D All remaining counsel by United States mail, properly addressed and postage prepaid;
D Counsel for the plaintiff by Registered United States mail, return receipt requested, properly
       addressed and postage prepaid;
D All remaining counsel by Registered United States mail, return receipt requested, properly
        addressed and postage prepaid;
D Counsel for the plaintiff by facsimile transmission with confirmation;
D All remaining counsel by facsimile transmission with confirmation;
D Counsel for the plaintiff by hand delivery;
D All remaining counsel by hand delivery;
        Counsel for the plaintiff by electronic transmission; and/or
        All remaining counsel by electronic transmission.

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                                                       CO^SEL '^

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